









Dismissed and Memorandum Opinion filed April 8, 2004









Dismissed and Memorandum Opinion filed April 8, 2004.

&nbsp;

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-04-00113-CR

____________

&nbsp;

LASTERSTEEN TONY THOMPSON, Appellant

&nbsp;

V.

&nbsp;

THE STATE
OF TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from the 174th District Court

Harris
County, Texas

Trial Court Cause No. 970,129

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O P I N I O N

Appellant entered a guilty plea to the offense of delivery of
a controlled substance.&nbsp; In accordance
with the terms of a plea bargain agreement with the State, the trial court
sentenced appellant on January 22, 2004, to confinement for two years in the
Institutional Division of the Texas Department of Criminal Justice.&nbsp; Appellant filed a pro se notice of
appeal.&nbsp; Because appellant has no right
to appeal, we dismiss.&nbsp; 








The trial court entered a certification of the defendant=s right to appeal in which the court
certified that this is a plea bargain case, and the defendant has no right of
appeal.&nbsp; See Tex. R. App. P. 25.2(a)(2).&nbsp; The trial court=s certification is included in the
record on appeal.&nbsp; See Tex. R. App. P. 25.2(d).




Accordingly, we dismiss the appeal.&nbsp; 

&nbsp;

PER CURIAM

&nbsp;

Judgment rendered and Memorandum
Opinion filed April 8, 2003.

Panel consists of Justices Fowler,
Edelman, and Seymore.

Do Not Publish C Tex. R. App.
P. 47.2(b).

&nbsp;

&nbsp;





